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                                      UNITED STATES DISTRICT COURT
 1                                   FOR THE DISTRICT OF PUERTO RICO
 2
 3   SKYTEC, INC.,
                                                               No. 3:15-CV-02104-BJM
 4                                             Plaintiff,
                  v.
 5
                                                               The Honorable Bruce J. McGiverin
 6   LOGISTIC SYSTEMS, INC.,
                                                               DEFENDANT’S RESPONSE TO
 7                                          Defendant.         PLAINTIFF’S MOTION TO STAY
                                                               THE PROCEEDINGS
 8
 9
10   TO THE HONORABLE COURT:

11                On September 12, 2018, Plaintiff Skytec, Inc. (“Plaintiff” or “Skytec”) filed a voluntary
12   petition (the “Petition”) for relief under chapter 11 of the United States Bankruptcy Code, 11
13
     U.S.C. §§ 101– 1532, the U.S. Bankruptcy Court for the District of Puerto Rico (the
14
     “Bankruptcy Court”). See In re Skytec, Inc., Case No. 18-05288-11 (Bankr. D.P.R. Sept. 12,
15
     2018) (the “Bankruptcy Case”). Approximately one hour later, Plaintiff filed a Motion to Stay
16
17   the Proceedings (the “Motion”) before this Court in the above-captioned case. The Motion

18   requests two distinct remedies: first, to stay the instant case because of Plaintiff’s filing of its

19   bankruptcy petition, and second, to allow Plaintiff’s counsel to withdraw from the representation
20   due to an alleged conflict of interest. Dkt. 164. Defendant-Counterclaimant Logistic Systems,
21
     Inc. (“LogiSYS”) hereby responds to Plaintiff’s Motion as directed by the Court. Dkt. 165.
22
                  Plaintiff’s filing of the Petition operates as an automatic stay of this proceeding. In
23
     particular, § 362(a)(1) of the Bankruptcy Code prohibits “the commencement or continuation . . .
24
25   of a judicial, administrative, or other action or proceeding against the debtor that was or could

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     have been commenced before the commencement of the [debtor’s] case under [the Bankruptcy
 1
 2   Code], or to recover a claim against a debtor that arose before the commencement of the

 3   [debtor’s] case under [the Bankruptcy Code].” 11 U.S.C. § 362(a)(1); see also Whitman-Nieves

 4   v. P.R. Fed. Credit Union (In re Whitman-Nieves), 549 B.R. 440, 444 (Bankr. D.P.R. 2016)
 5
     (comparing sections 362(a)(1) and 362(a)(6) of the Bankruptcy Code). The automatic stay
 6
     remains in effect as to all matters subject to the stay, unless and until an order granting relief
 7
     from the stay is obtained from the Bankruptcy Court, and renders any judicial orders obtained in
 8
     violation of the stay void. See Soares v. Brockton Credit Union (In re Soares), 107 F.3d 969, 976
 9
10   (1st Cir. 1997) (explaining that the automatic stay “remains in force until a federal court either

11   disposes of the case . . . or lifts the stay” and holding that acts taken in contravention of the
12   automatic stay are void). .
13
                  Accordingly, in the absence of an order from the Bankruptcy granting relief from the
14
     stay, any action taken in this case that could be considered against the interest of the Skytec as a
15
     debtor-in-possession is automatically stayed. Such action includes the request by Skytec’s
16
17   counsel to withdraw from representing Skytec, or any order further thereto, in the instant case.

18                Moreover, withdrawal of Skytec’s counsel may not be necessary or proper,

19   notwithstanding the inclusion of Skytec’s counsel on Skytec’s list of unsecured creditors filed in
20   the Bankruptcy Case. Bankruptcy courts have allowed the continuing representation by prior
21
     litigation counsel of a debtor, subject to specific disclosures and waivers from creditors and the
22
     United State Trustee.1 See Stoumbos v. Kilimnik, 988 F.2d 949, 964 (9th Cir. 1993) (“Section
23
24
     1
      The amount listed in Debtor’s preliminary schedules as owed to law firm Cancio, Nadal Rivera
25
     & Diaz, PSC (see Bankruptcy Case [ECF No. 1]) is not substantial in comparison to the work
26   performed, the time invested in litigation and the pending matters in the herein stayed

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     327(c) allows the appointment of counsel to represent the [debtor-in-possession], even where
 1
 2   counsel represents a creditor, where the court finds no ‘actual conflict of interest.’”); accord

 3   Barroso Herrans v. Lugo Mender, 364 B.R. 463, 481 (D.P.R. 2006) (explaining that bankruptcy

 4   judges, in their discretion, must determine whether the is a conflict of interest case-by-case,
 5
     based on “the particular facts and circumstances of the case.”) (citing In re Martin, 817 F.2d 175,
 6
     182 (1st Cir. 1987); In re AroChem Corp., 176 F.3d 610, 621 (2nd Cir. 1999)) (“[W]here the
 7
     interest of the special counsel and the interest of the estate are identical with respect to the matter
 8
     for which special counsel is retained, there is no conflict and the representation can stand.”).
 9
10                LogiSYS respectfully submits that, absent an order from the Bankruptcy Court granting

11   relief from the automatic stay, this Honorable Court is precluded from entertaining Skytec’s
12   counsel’s request to withdraw from representing Skytec in this proceeding because this
13
     proceeding was and remains automatically stayed upon the filing of Skytec’s Petition. While
14
     LogiSYS does not contest the notice of automatic stay, it respectfully requests this Honorable
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     Court refrain from entertaining the request that Skytec’s counsel be permitted to withdraw.
16
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23   proceeding. Therefore, to grant their withdrawal of representation in this proceeding before
     obtaining relief from stay from the Bankruptcy Court may not necessarily be in the best interests
24   of Skytec’s bankruptcy estate or its creditors. Such a determination is appropriately left to the
     discretion of the Bankruptcy Court in connection with a motion for relief from stay or
25
     application for retention of professionals by the debtor in in the Bankruptcy Case under
26   applicable provisions of the Bankruptcy Code.

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 1                RESPECTFULLY SUBMITTED this 14th day of September, 2018.
 2
                                                     s/ Carlos A. Rodriguez Vidal
 3                                                   Carlos A. Rodríguez Vidal
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 7
 8                                                   s/ Samuel T. Bull
                                                     s/ Lauren J. King
 9                                                   s/ Kelly Mennemeier
                                                     Sam T. Bull
10                                                   Washington State Bar No.: 34387
                                                     Lauren King
11
                                                     Washington State Bar No.: 40939
12                                                   Kelly Mennemeier
                                                     Washington State Bar No.: 51838
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     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION TO
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 1                                        CERTIFICATE OF SERVICE
 2                The undersigned hereby certify that on September 14, 2018 the foregoing document was
 3
     electronically filed with the Clerk of the Court using the CM/ECF System which will send
 4
     notification of such filing to all counsel of record.
 5
                  Dated this 14th day of September, 2018 in San Juan, Puerto Rico.
 6
 7
                                                             s/ Carlos A. Rodriguez Vidal
 8                                                           Carlos A. Rodríguez-Vidal
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 9                                                           Counsel for Logistic Systems, Inc.
                                                             Goldman Antonetti & Cordova, LLC
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                                                             s/ Samuel T. Bull
13                                                           s/ Lauren J. King
                                                             s/ Kelly Mennemeier
14                                                           Samuel T. Bull
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     DEFENDANT’S RESPONSE TO PLAINTIFF’S MOTION TO
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